Case 19-11081-pmm          Doc 81   Filed 04/15/22 Entered 04/15/22 14:31:02             Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 READING DIVISION
In re:
Geraldo Parra,                                          Bankruptcy No. 19-11081-pmm
        Debtor.
Bank of America, N.A,                                   Chapter 13
       Movant.
v.
Geraldo Parra,
        Debtor/Respondent.
Scott F. Waterman, Esquire,
       Trustee/Respondent.




                                       ORDER OF COURT

       AND NOW, this15thday of April                      , 2022, upon consideration of the foregoing

Stipulation Resolving Motion for Relief from Stay, it is hereby ORDERED that the Stipulation is

approved.

                                                                ________________________

                                                                     JudgePatriciaM.Mayer
